8:06-cr-00116-RFR-MDN               Doc # 88   Filed: 07/31/06    Page 1 of 1 - Page ID # 143




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                 8:06CR116
                                                  )
EVEREADA KOURIS,                                  )          SCHEDULING ORDER
                                                  )
                       Defendant.                 )


       IT IS ORDERED that the following is set for hearing on August 1, 2006 at 9:30 a.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

         - Amended Motion for Release [82] filed by the defendant

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 31st day of July, 2006.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
